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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Clearview AI, Inc., Consumer Privacy Litigation,
et al.
                                                    Plaintiff,
v.                                                                    Case No.:
                                                                      1:21−cv−00135
                                                                      Honorable Sharon
                                                                      Johnson Coleman
Clearview AI, Inc., et al.
                                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 30, 2023:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
held on 11/30/2023. Parties have the settled the matter in principle. Counsel for plaintiffs
is working on the motion for approval of settlement. An in−person status hearing is set for
1/23/2024 at 9:45 AM. Mailed notice. (ym)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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